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     Attorneys for Plaintiff,
5    LINDA PONCE-GUTIERREZ
6
                       IN THE UNITED STATES DISTRICT COURT
7                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
8

9
     LINDA PONCE-GUTIERREZ,                    ) Case No.: 2:19-cv-8667
10                                             )
                                               )      NOTICE OF SETTLEMENT
11                Plaintiff,                   )
                                               )
12         v.                                  )
                                               )
13                                             )
     CITIBANK, N.A.                            )
14                                             )
                                               )
15                Defendant.                   )
                                               )
16

17         PLEASE TAKE NOTICE that Plaintiff, Linda Ponce-Gutierrez, and
18   Defendant, Citibank, N.A. have reached an agreement on all material terms required
19   to settle all of Plaintiff’s claims pending in this action. The parties expect to file a
20   dismissal of all of Plaintiff’s claims within the next thirty (30) days.
21         Plaintiff respectfully requests this Honorable Court vacate all deadlines in the
22   present matter.
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                                           COMPLAINT
                                              -1-
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1    Date: December 10, 2019                 RESPECTFULLY SUBMITTED,
2                                            By:/s/ Matthew A. Rosenthal
                                                    Matthew A. Rosenthal
3                                                   Attorney for Plaintiff,
                                                    LINDA PONCE-GUTIERREZ
4

5                            CERTIFICATE OF SERVICE
6      I hereby certify that on December 10, 2019, I filed the forgoing document with
7    the Clerk of the Court using the CM/ECF System. Notice of said filing was sent via
8    e-mail transmission to the following:
9
                               Andrew Moritz
10                             Citibank, N.A.
                               14000 Citicards Way
11                             Jacksonville, FL 32259
                               Andrew.moritz@citi.com
12
                                                  By:/s/ Matthew A. Rosenthal
13
                                                         Matthew A. Rosenthal
14

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                                         COMPLAINT
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